                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                    Civil Action No. 1:22-cv-07119

        Plaintiff,                            Judge: Hon. Franklin U. Valderrama

v.                                            Magistrate Judge: Hon. Jeffrey Cummings

PDD HOLDINGS INC., a Cayman Islands           JURY TRIAL DEMANDED
corporation, and WHALECO, INC., a
Delaware corporation, and DOES 1-60,

        Defendants.


     PLAINTIFF ROADGET BUSINESS PTE. LTD.’S MEMORANDUM OF LAW IN
     SUPPORT OF MOTION TO COMPEL DEFENDANT PDD HOLDINGS INC. TO
                         PRODUCE DISCOVERY
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I.     INTRODUCTION

       Defendant PDD Holdings Inc. (“PDD Holdings”) has actively defended itself and litigated

this case since it was named as a Defendant in the First Amended Complaint nearly six months

ago. It has served discovery requests on Plaintiff Roadget Business Pte. Ltd. (“Plaintiff” or

“Roadget”) seeking extensive information, conducted depositions, agreed to provide responses to

Roadget’s discovery requests, filed multiple motions seeking affirmative relief from this Court,

and participated fully in the litigation. It even is subject to the Court’s Temporary Restraining

Order. Yet now, under the direction of new counsel, PDD Holdings changed course and is refusing

to participate in any discovery based on the purported grounds that it is not subject to personal

jurisdiction before this Court. This position is baseless.

       Not only is PDD Holdings subject to this Court’s personal jurisdiction but any argument

to the contrary has been waived long ago. PDD Holdings has not moved to dismiss for lack of

personal jurisdiction nor filed a motion for a protective order, choosing instead to appear in this

action, defend itself on the merits, and affirmatively serve its own discovery. It has no legitimate

basis to refuse to comply with its basic discovery obligations.

       The parties have complied with their obligations pursuant to Local Rule 37.2. Roadget

specifically addressed PDD Holdings’ ongoing discovery deficiencies in correspondence dated

August 15, 2023 and August 25, 2023. (Ex. 1, 9/6/2023 email from L. Chang). The parties met

and conferred via Zoom on September 6, 2023 on the issues raised in Roadget’s letters, and

exchanged subsequent correspondence. (Id.) Despite meeting and conferring, PDD Holdings

remains steadfast in its refusal to respond to any discovery requests or appear for deposition,

forcing Roadget to file this Motion to Compel. Roadget respectfully requests that this Court grant




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this Motion and order PDD Holdings to fully respond to Roadget’s written discovery and appear

for a Rule 30(b)(6) deposition on a date certain.

II.    FACTUAL BACKGROUND

       A.      PDD Holdings Has Actively Participated in this Litigation Without Moving
               to Dismiss on Jurisdictional Grounds

       PDD Holdings has actively participated in this litigation for more than six months. It was

named as a defendant in the First Amended Complaint (Dkt. 33), and, rather than moving to

dismiss for lack of jurisdiction, answered the operative complaint on April 6, 2023 (Dkt. 50). It

filed multiple pleadings and motions thereafter, availing itself of this Court’s jurisdiction.

Specifically, PDD Holdings: (1) moved the Court on August 21, 2023 for leave to file a sur-

response and seek expedited discovery against Roadget to oppose its Second Motion for a

Preliminary Injunction (Dkt. 130), (2) formally consented to the extension of the August 11, 2023

temporary restraining order (“TRO”) on August 24, 2023 (Dkts. 138, 143, 144), (3) moved to

amend the TRO on August 29, 2023 (Dkt. 148), and (4) opposed Roadget’s Motion for Civil

Contempt on September 1, 2023 (Dkt. 156). PDD Holdings further joined in four Joint Status

Reports to the Court (submitted by Defendants collectively) without reserving objections to

personal jurisdiction. (Dkts. 57, 62, 142, 153).

       It was not until Roadget filed its Motion for a TRO that PDD Holdings advised (more than

three months after filing its Answer to the FAC) that it intended to move to dismiss for lack of

personal jurisdiction, while “rely[ing] on the opposition arguments made by Whaleco” to oppose

the TRO (Dkt. 79 at 1 n.1). Nevertheless, PDD Holdings never moved to dismiss for lack personal

jurisdiction. The Court proceeded to enter a TRO against WhaleCo and PDD Holdings. (Dkt. 110).

Both Defendants – including PDD Holdings – on August 29, 2023 filed a motion to amend the

TRO (based on the merits, without asserting any jurisdictional challenge), while also opposing


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Roadget’s motion for contempt of TRO on September 1, 2023, again without reserving any right

object to the Court’s exercise of personal jurisdiction over PDD Holdings. (Dkts. 148, 159). In

addition, PDD Holdings and WhaleCo filed a motion on August 21, 2023, seeking expedited

discovery against Roadget to oppose its Second Motion for Preliminary Injunction (Dkt. 130),

which the Court granted (Dkt. 138). On August 25, 2023, PDD Holdings, along with WhaleCo,

served Roadget with a Second Set of Requests for Production. (See Dkts. 119, 138; Ex. 2).

       PDD Holdings has at all times held itself out to the Court and Roadget as an active

participant in the lawsuit, without ever filing a notice of special appearance in this case or moving

to dismiss under Rule 12(b)(2).1 Instead, PDD Holdings has generally appeared through counsel,

and even sought and obtained affirmative relief from the Court. (See Dkts. 131-133, 143, 153.)

PDD Holdings still has not challenged the Court’s exercise of personal jurisdiction over it,

choosing instead to stymie Roadget’s discovery efforts based on this belated objection.

       B.      PDD Holdings Previously Agreed to Produce Discovery in its Written
               Responses, Deposed Roadget’s Corporate Representative, then Reversed
               Course Three Months Later With New Counsel

       PDD Holdings agreed in June 2023 to produce certain documents and information in

response to discovery served on May 2, 2023. PDD Holdings substantively responded to 19 of 21

interrogatories, approximately 125 of 178 requests for admission (“RFAs”), 2 and nearly 200

requests for production (“RFPs”) – all without asserting any general or specific objections based



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   On October 11, counsel for PDD Holdings emailed counsel for Roadget formally requesting
that Roadget dismiss PDD Holdings with prejudice, and stating that otherwise PDD Holdings
would, at some future point, move to dismiss for lack of personal jurisdiction.
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  Both Defendants objected to Roadget’s First Set of RFAs as premature on the basis that they
“intend[ed] to file a motion to dismiss the Second Amended Complaint” and “[a] ruling on this
motion [would] impact the scope of permissible discovery” so the RFAs “potentially [sought]
discovery not relevant to a party’s claim or defense or proportional to the needs of the case.” See
Ex. 3, at 2. These objections did not assert lack of personal jurisdiction as the basis for withholding
discovery or for the forthcoming motion to dismiss.
                                                  3
on lack of jurisdiction, even stating that jurisdiction-related RFPs should be addressed through

deposition testimony. (Ex. 4, RFP Resps., including to RFPs 26, 36, and 42; Ex. 5, Interrogatory

Resps.; Ex. 3, RFA Resps.). PDD Holdings also stated that it would produce documents in its

possession, custody, or control found after a reasonable search. 3 And on July 20, 2023, PDD

Holdings took the deposition of Roadget’s corporate representative, Tim Wei, pursuant to Fed. R.

Civ. P. 30(b)(6). (See Ex. 6, Excerpt of Tr. of Dep. of Tim Wei, at 4:19-20 (conducting deposition

“on behalf of defendants”)).

       Similarly, PDD Holdings previously indicated that it would confer with counsel on

scheduling depositions of its own witnesses. In its written responses to Roadget’s June 29, 2023

Preliminary Rule 30(b)(6) Notice of Deposition (“Preliminary Rule 30(b)(6) Notice”), PDD

Holdings objected to most (but not all) topics on the ground that they were premature because

PDD Holdings had not yet filed its motion to dismiss for lack of personal jurisdiction. 4 PDD

Holdings nonetheless stated in its general objection to the Preliminary Rule 30(b)(6) Notice that

“PDD Holdings is willing to meet and confer regarding a mutually agreeable date, time, and place

for the deposition.” (Ex. 7 at 1). PDD Holdings’ counsel also informed Roadget’s counsel that it

was “still working on both names and available dates for deposition.” (See Ex. 8, 7/28/23 Yin

Email). On August 16, 2023, counsel for PDD Holdings and WhaleCo confirmed that the

depositions of Zoe Ji and Yao Wu, both identified in PDD Holdings’ Initial Disclosures as

witnesses on which PDD Holdings may rely to support its claims or defenses, would not proceed




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  See. e.g., Ex. 4 at RFPs 10-12, 15-17, 20-21, 28, 30, 34, 40, 42, 44-45, 47, 49, 51, 53, 56, 59-62,
68-73, 76-81, 85-92, 94-96, 98-99, 102-106, 109-115, 117-118, 120-122, 126, 131-132, 135, 141-
144, 146-149, 151, 156-162, 166-168, 186-188, 190.
4
  Ex. 7, PDD Holdings’s 7/26/23 Resps. to Prelim. Rule 30(b)(6) Notice at Topic Nos. 1, 2, 5, 6,
10, 11, 12, 13, 14, 15, 16, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36,
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                                                  4
on the noticed dates and that discussions remained ongoing regarding witness availability. (Ex. 9,

Rule 30(b)(1) Deposition Notice of Yao Wu; Ex. 10, Rule 30(b)(1) Deposition Notice of Zoe Ji;

Ex. 11, 8/16/23 Benyamin Email; Ex. 12, PDD Holdings Rule 26 Initial Disclosures).

       C.      The Parties Met and Conferred, and Are Now at an Impasse Based on PDD
               Holdings’ Refusal to Engage in Discovery

       Roadget requested a conference pursuant to Local Rule 37.2. On August 15, 2023, Roadget

wrote to Defendants regarding deficiencies in their written discovery responses, including PDD

Holdings’s refusal to produce, among other things, documents and information pertaining to its

activities directed at this forum in connection with the Temu platform. (See, e.g., Ex. 1, 9/6/2023

email from L. Chang). On August 25, 2023, Roadget sent another letter seeking to confer on

Defendants’ written objections to the Preliminary Rule 30(b)(6) Notices, specifically addressing

PDD Holdings’s failure to produce a designated witness for any of the 39 noticed topics, and its

belated objection based on lack of personal jurisdiction to 31 of those topics. (Id.). On August 29,

2023, Roadget wrote to Defendants regarding several WhaleCo employees’ failure to appear for

noticed depositions and failure to offer alternative dates or indicate whether a translator would be

necessary. (Ex. 13, 8/29/23 Letter from L. Chang).

       Following a meet-and-confer held on September 6, 2023, counsel for PDD Holdings

confirmed that “PDD will not be producing documents or otherwise engaging in discovery until

the personal jurisdiction objection is resolved.” (Ex. 14, 9/9/23 Email from A. Naydonov to L.

Chang). PDD Holdings amended its responses to Roadget’s First Set of RFPs and Interrogatories

on September 9, 2023. (Ex. 15, Amd. Resps. To RFPs; Ex. 16, Amd. Resps. To Interrogatories).

Unlike its initial responses served in June, PDD Holdings’ amended responses to Roadget’s RFPs

now belatedly include objections for lack of personal jurisdiction, and withdraw all prior

commitments to produce documents in response to nearly 100 RFPs. (See Ex. 17 Redline of Amd.


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Resps. to RFPs.). PDD Holdings’ amended responses to Roadget’s Interrogatories likewise now

include a general objection for lack of personal jurisdiction. (See Ex. 18 Redline of Amd. Resps.

to Interrogatories).

        Finally, Roadget served a Rule 30(b)(6) Notice of Deposition on PDD Holdings on August

31, 2023. (Ex. 19). On September 7, 2023, PDD Holdings advised Roadget that Defendants will

serve its written responses on October 2, 2023. (Ex. 20, 9/7/23 Devine Email). PDD Holdings has

not yet provided responses and objections. On October 2, 2023, PDD Holdings served its responses

and objections to Roadget’s September 1, 2023 Second Set of Requests for Production, in which

PDD Holdings reiterated its refusal to engage in discovery until the jurisdictional objection is

resolved. (See Ex. 21, Resps. to 2d RFPs at 2).

III.    ARGUMENT

        A party may move to compel production if the other party fails to produce the discovery

requested. Fed. R. Civ. P. 37(a)(3)(B)(iv). Rule 26(b)(1) allows “discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1). “Because the purpose of discovery is to help define and

clarify the issues,’ courts broadly define the scope of relevant discovery.” Beijing Choice Elec.

Tech. Co. v. Contec Med. Sys. USA, Inc., No. 18 C 0825, 2020 U.S. Dist. LEXIS 61634, at *8

(N.D. Ill. Apr. 8, 2020). “The party opposing discovery bears the burden of showing why discovery

should be disallowed.” In re Peregrine Fin. Grp. Customer Litig., No. 12 C 5546, 2015 U.S. Dist.

LEXIS 34829, at *6 (N.D. Ill. Mar. 20, 2015) (citation omitted).

        A.      PDD Holdings Has Consented to Personal Jurisdiction, Waived this Defense,
                and is Otherwise Estopped from Objecting to Discovery

        The time for PDD Holdings to contest personal jurisdiction has long since passed. It is well

established that “[t]he actions of the defendant may amount to a legal submission to the jurisdiction


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of the court, whether voluntary or not.” Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de

Guinee, 456 U.S. 694, 704-05 (1982). “Unlike subject matter jurisdiction, personal jurisdiction

can be waived at any time by express submission, conduct or failure to assert the defense.” Nucap

Indus., Inc. v. Robert Bosch LLC, No. 15 C 2207, 2017 WL 3581174, at *1 (N.D. Ill. Aug. 18,

2017) (citing United States v. Chapel, 956 F.2d 272 (7th Cir. 1992)). A defendant submits to

personal jurisdiction when this defense is not promptly asserted, and its conduct and participation

causes the court to go to “some effort that would be wasted if personal jurisdiction is subsequently

found lacking.” Nucap, 2017 WL 3581174, at *7 (citing Hedeen Int’l, LLC v. Zing Toys, Inc., 811

F.3d 904, 906 (7th Cir. 2016).

        As the Seventh Circuit explained in Rice v. Nova Biomedical Corp., 38 F.3d 909, 914

(1994), it “would defeat the purpose of requiring prompt assertion of the defense of lack of

personal jurisdiction if the defendant, having raised an objection to personal jurisdiction at the

outset as required, could without any penalty fail or refuse to press it . . . .” And where, as here, a

defendant has participated in discovery, it cannot object to the plaintiff’s discovery requests based

on personal jurisdiction. For example, in In re Syngenta Mass Tort Actions, No. 3:15-cv-01121-

DRH, 2017 WL 713694, at * (S.D. Ill. Feb. 20, 2017), the defendant was found to have waived

personal jurisdiction defense by “moving for the adoption of a particular form of discovery

coordination; filing a reply regarding its motion for adopting the coordination order; participating

in a status conference regarding involvement and agreement of discovery coordination; . . . filing

a response in opposition regarding deposition time for witnesses; . . . filing a response in opposition

to a request for additional time to depose a witness; and participating and filing a joint status report

regarding trial discovery”. Here, PDD Holdings has done even more, affirmatively conducting

discovery and seeking relief from the Court on multiple issues. See also Nucap, 2017 WL 3581174,



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at *8 (holding that defendant waived its personal jurisdiction defense where it “could have

immediately presented its objections to personal jurisdiction” by “attacking the FAC on its face

before discovery commenced” but instead “forged ahead with discovery, subject to a partial

jurisdictional objection” and “refused to produce anything arguably shedding light on . . . whether

[the defendant] had sufficient [claim]-related contacts”).

       PDD Holdings cannot withhold discovery by asserting a lack of personal jurisdiction where

it has actively participated in this litigation for several months, responded to discovery requests

with representations that it would in fact produce discovery, and even sought its own written and

oral discovery against Roadget, including after obtaining an order granting expedited discovery

from the Court it now claims lacks jurisdiction over it. PDD Holdings affirmatively opposed

Roadget’s Second Motion for a Preliminary Injunction and even consented before this Court to an

extension of the TRO expressly issued against it, in order to obtain expedited discovery and

additional relief against Roadget.

       As the court explained in Nucap, “the Supreme Court and the Seventh Circuit have

disapproved the practice of adopting a wait-and-see stance to asserting the defense of lack of

personal jurisdiction; doing so typically results in waiver.” 2017 WL 3581174, at *9. In that case,

as should be found here as well, the foreign defendant was held to have consented to personal

jurisdiction despite preserving its defense in an answer because it waited to file a motion asserting

the defense until after the outcome of a pending motion for preliminary injunction brought against

its U.S. subsidiary, another defendant. PDD Holdings cannot belatedly assert lack of personal

jurisdiction in the face of an issued TRO and pending motion for preliminary injunction, and

obstruct discovery on that basis, after months of actively litigating the merits of this case and

conducting its own discovery of Roadget. See Blockowicz v. Williams, 630 F.3d 563, 566 (7th Cir.



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2010) (holding that defendants waived lack of personal jurisdiction by “participating in the district

court proceedings, which included both briefing and oral arguments addressing the merits[,]” even

though the defendant had raised the defense in a footnote in a motion opposing enforcement of an

injunction); In re Schwinn Bicycle Co., 182 B.R. 526, 530 (Bankr. N.D. Ill. 1995) (“[E]ven where

personal jurisdiction cannot otherwise be established, a defendant may nonetheless manifest

consent to a court’s in personam jurisdiction where he or she takes steps or seeks such relief as is

consistent only with the hypothesis that the court has jurisdiction over his or her person.”) (citing

Ins. Corp. of Ireland, 456 U.S. at 702-05).

       Nor can PDD Holdings object to Roadget’s requests for jurisdictional discovery, which

have already been served. See Ins. Corp. of Ireland, 456 U.S. at 709 (“[Plaintiff] was seeking

discovery to respond to [Defendants’] contention that the District Court did not have personal

jurisdiction. Having put the issue in question, [Defendants] did not have the option of blocking the

reasonable attempt of [Plaintiff] to meet its burden of proof.”).

       Finally, even if PDD Holdings had not waived this defense for the reasons stated above, it

is subject to personal jurisdiction under 735 ILCS 5/2-209(c) and Fed. R. Civ. P. 4(k)(2) including

because, by its own admissions in publicly available information alleged in this action, PDD

Holdings has owned and operated the Temu marketplace on which the alleged rampant copyright

and trademark infringement occurred in this action and which specifically targets Illinois and U.S.

consumers. See Dkt. 64 ¶¶ 5-6, 38-43; Dkts. 64-26, 64-27. 5 This publicly available information is




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   PDD Holdings also directed its agent and subsidiary WhaleCo, and other related entities to
leverage PDD Holdings’s network of “sourcing, logistics, and fulfillment capabilities” to sell,
promote, import, display and distribute counterfeit and infringing products and images to U.S. and
Illinois consumers through the Temu marketplace, specifically solicited social media influencers
to falsely promote Temu in the United States and Illinois, solicited vendors to upload images and
manufacture and sell infringing products to U.S. and Illinois consumers on Temu, and
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already more than sufficient to establish personal jurisdiction over PDD Holdings, and further

information specifically sought in Roadget’s written discovery and 30(b)(6) deposition topics, to

which PDD Holdings is improperly refusing to respond, will only further confirm the lack of basis

to assert this defense.

        B.      PDD Holdings Waived Jurisdictional Objections to the RFPs,
                Interrogatories, RFAs, and 30(b)(6) Deposition Notice by Failing to Timely
                Assert Them

        Not only did PDD Holdings waive its personal jurisdiction defense entirely for the reasons

stated above, it has also waived objections based on lack of personal jurisdiction by failing to

timely assert them in its written discovery responses. 6 In its initial objections and responses, PDD

Holdings agreed to produce documents in response to nearly 100 of Roadget’s RFPs. (Ex. 4). PDD

Holdings likewise initially answered (albeit deficiently), to 19 of Roadget’s Interrogatories and

approximately 125 of Roadget’s RFAs. (Exs. 4-5). PDD Holdings did not assert a general or

specific objection based on lack of personal jurisdiction in any of its initial responses to Roadget’s

First Sets of RFPs, Interrogatories, or RFAs. (Exs. 3-5). It instead inserted the objections for the

first time in amended responses to the RFPs and Interrogatories – served over three months later.




misappropriated Roadget’s trade secrets for use in connection with Temu in the U.S. and Illinois.
Id.
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     Although PDD Holdings has waived any objection based on personal jurisdiction to all
discovery requests for the reasons explained here, Roadget is willing to withdraw its RFP No. 43,
and otherwise withdraw any request that PDD Holdings provide the identities or addresses of
manufacturers to the extent covered by any of the requests. In addition, to the extent PDD Holdings
believes in good faith that any requested information evidence would implicate Chinese privacy
or states’ secrets laws, as it asserted in its meet and confer correspondence, Roadget is willing to
discuss with PDD Holdings a process by which these concerns can be addressed as to specific,
identified requests. For example, the parties can jointly retain an independent expert in Chinese
law located in China who can evaluate PDD Holdings’ concerns, and to the extent any requests do
actually implicate Chinese privacy or state secrets laws, those requests will be withdrawn.
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(Exs. 17-20.) The newly asserted objections based on lack of personal jurisdiction are untimely

and therefore waived.7 Fed. R. Civ. P. 34(b)(2)(A).

       Relatedly, PDD Holdings’ jurisdictional objections are an improper basis for failing to

designate and/or produce a witness for deposition because PDD Holdings does not have a pending

motion for a protective order pursuant to Rule 26(c). Fed. R. Civ. P. 37(d)(2). “Under Fed. R. Civ.

P. 37(d), a party that fails to appear for deposition after being served with proper notice is subject

to sanctions, unless the failure was substantially justified. An objection to discovery does not

excuse a failure to appear at deposition unless the party has applied for a protective order as

provided by Rule 26(c).” Medline Indus., Inc. v. Andens of Ill., Inc., No. 88 c 9563, 1990 U.S. Dist.

LEXIS 2072, at *20 (N.D. Ill. Feb. 23, 1990). Absent a Rule 26(c) protective order, PDD

Holdings’s boilerplate jurisdictional objections do not justify its refusal to designate or produce a

witness pursuant to Rule 30(b)(6).

IV.    CONCLUSION

       Roadget respectfully requests that the Court grant Roadget’s Motion to Compel ordering

PDD Holdings to: (1) withdraw its discovery objections based on lack of personal jurisdiction, (2)

provide fulsome discovery responses and produce responsive and discoverable documents in

response to Roadget’s June 22, 2023 Requests for Admission, May 2, 2023 First Set of Requests

for Production, and May 2, 2023 First Set of Interrogatories subject to the exceptions in footnote




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  As stated above, the Parties agreed to supplement their respective RFP and Interrogatory
responses to account for additional allegations in the SAC. The SAC, alleged, inter alia,
infringement of a substantial amount of new copyrighted works and trademarks owned by
Roadget, but the alleged bases for personal jurisdiction over PDD Holdings, in particular PDD
Holdings’s ownership and operation of the Temu website and direction of various subsidiary
agents to engage in specific infringing acts in the forum, have not changed.
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6, and (3) designate and produce on a date certain witnesses in response to Roadget’s June 29,

2023 Rule 30(b)(6) Notice of Deposition to PDD Holdings.




                                           ROADGET BUSINESS PTE. LTD.
Date: October 16, 2023


                                             By: /s/ Andrew Schapiro

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                                           Counsels for Plaintiff Roadget Business Pte. Ltd.




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                             CERTIFICATE OF SERVICE

     I hereby certify that on October 16, 2023 I filed the foregoing MEMORANDUM OF LAW
IN SUPPORT OF MOTION TO COMPEL DEFENDANT PDD HOLDINGS INC. TO
PRODUCE DISCOVERY which will automatically give notice to the parties’ counsel of record.

                                                /s/ Andrew Schapiro
                                                Andrew Schapiro




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